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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                    Case No. 19-cv-22702-KMW

   CORI ANN GINSBERG, et al.

              Plaintiffs,

   vs.

   VITAMINS BECAUSE LLC, et al.,

              Defendants.
                                                      /

                                 AMENDED SCHEDULING ORDER

              THIS MATTER is before the Court on the Parties’ joint motion to amend the

   Scheduling Order.         (DE 232).   The motion (DE 232) is GRANTED, however, NO

   FURTHER EXTENSIONS WILL BE ALLOWED. This case is SET for trial during the

   Court’s two-week trial calendar beginning on June 20, 2022 before the Honorable

   Kathleen M. Williams at 400 North Miami Avenue, Courtroom 11-3, Miami, Florida.

   Calendar call will be held at 11:00 a.m. on June 14, 2022. A request for a pre-trial

   conference must be filed at least 30 days prior to the calendar call. Additionally, counsel

   are advised that all filings must comply fully with the Federal Rules of Civil Procedure, the

   Local Rules for the Southern District of Florida, and this Court's Practices and

   Procedures, which can be found at: http://www.flsd.uscourts.gov/?page_id=13071.

         I.       Schedule. The Parties shall adhere to the following schedule:

              October 29, 2021           The Plaintiff shall disclose experts, expert witness

                                         summaries and reports.
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         November 29, 2021      The Defendant shall disclose experts, expert witness

                                summaries and reports.



         December 31, 2021      The Parties shall exchange rebuttal expert witness

                                summaries and reports.



         January 17, 2022       The Parties shall complete all discovery, including

                                expert discovery.



         February 8, 2022       The Parties shall file all dispositive pre-trial motions

                                and memoranda of law. The Parties shall also file any

                                motions to strike or exclude expert testimony, whether

                                based on Federal Rule of Evidence 702 and Daubert

                                v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579

                                (1993), or any other basis.



         February 8, 2022       The Parties shall each file one motion in limine in

                                accordance with Section IV below. All motions in limine

                                must be filed at least six weeks before calendar call.



         February 18, 2022      The Parties shall file a joint pre-trial stipulation, exhibit

                                lists, and witness lists in accordance with Local Rule

                                16.1(d) and (e) and Section V below. The Parties shall
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                                       also file proposed jury instructions and a proposed

                                       verdict form, or statement of fact and conclusions of

                                       law (for non-jury trials) in accordance with Section VI

                                       below.



            February 18, 2022          The Parties shall file their deposition designations in

                                       accordance with Section VII below.



      II.      Mediation. Within thirty (30) days of the date of this Order, the Parties shall:

               select a mediator certified under Local Rule 16.2(b); schedule a time, date, and

               place for mediation; and jointly file a notice scheduling mediation as shown on

               the Sample Form Order Scheduling Mediation found in the Forms located on

               the Court’s website. If the Parties cannot agree on a mediator, they shall notify

               the Clerk in writing immediately, and the Clerk shall designate a certified

               mediator on a blind rotation basis. Counsel for all Parties shall familiarize

               themselves with, and adhere to, all provisions of Local Rule 16.2.

                  The Court will not enter an order scheduling mediation after the notice is

               filed. Instead, the Parties’ notice scheduling mediation shall bind the Parties in

               lieu of a Court order. The Parties’ mediation date shall not be rescheduled

               without leave of Court. The parties are responsible for ensuring that within

               three business days of the mediation, a mediation report is filed, indicating

               whether the case settled (in full or in part), was continued with the consent of

               the parties, or whether the mediator declared an impasse.
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      III.   Motions. Strict compliance with the Local Rules is expected with regard to

             motion practice. See Local Rule 7.1. For example, when filing non-dispositive

             motions, the moving Party shall submit a proposed order in Word format via

             email to chambers at Williams@flsd.uscourts.gov.           Local Rule 7.1(a)(2).

             Counsel for the moving party must also confer, or make a reasonable effort to

             confer, before filing certain motions, as required by Local Rule 7.1(a)(3).

                All motions and attachments to motions are required to be filed in a text

             searchable format pursuant to CM/ECF Administrative Procedure 3G(5).

                Strict compliance with the Local Rules is also expected with regard to

             motions for summary judgment. See Local Rule 56.1. For example, the

             moving Party must contemporaneously file a statement of undisputed material

             facts, delineating by number each material fact, supported with specific

             citations to the record (Docket Entry, Exhibit, Page Number(s)).              The

             opposing Party must file contemporaneously with its opposition a response to

             the statement of material facts, which shall respond by corresponding number

             to each of the moving Party’s statement of material facts. Local Rule 56.1(a).

             The opposing Party shall state, based on citations to the record, whether

             each fact is disputed or undisputed. If the fact is disputed, the opposing Party

             shall state why the dispute is a material one. “All material facts set forth in the

             movant’s statement . . . will be deemed admitted unless controverted by the

             opposing party’s statement, provided that the Court finds that the movant’s

             statement is supported by evidence in the record.” Local Rule 56.1(b). These
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            procedures shall also apply to the moving Party when responding to any

            additional facts set forth in the opposing Party’s statement of material facts.

               The Parties may stipulate to extend the time to answer interrogatories,

            produce documents and answer requests for admission. The Parties shall not

            file with the Court notices or motions memorializing any such stipulation unless

            the stipulation interferes with the time set for completing discovery, for hearing

            a motion, or for trial. Such stipulations may be made only with the Court’s

            approval. See Fed. R. Civ. P. 29. In addition to the documents enumerated in

            Local Rule 26.1(b), the Parties shall not file notices of deposition with the Court.

               Any Party seeking to make a filing under seal shall comply with Local Rule

            5.4. The Parties cannot override the requirements of that Rule through a joint

            protective order.

               Any party seeking to change any of the above deadlines must file a Motion

            to Continue or Motion for Extension of Time. Pursuant to this Court’s Practices

            and Procedures, “[a]bsent an emergency, requests for extensions of time must

            be presented to the Court, by motion, no later than 48 hours prior to the

            deadline from which the Parties are seeking relief. Sanctions may be imposed

            for non-emergent requests made less than 48 hours prior to the deadline.” The

            Court will not accept notices of unavailability, and any filed will not be construed

            as motions to continue or otherwise operate to change the Court’s schedule in

            any way.

      IV.   Motions in Limine. The Parties may each submit only one (1) motion in limine

            that identifies up to ten (10) evidentiary issues they seek to raise to the Court.
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            The motion may not exceed twenty (20) pages in length. Each evidentiary

            issue must be numbered, and must specifically identify the evidence sought to

            be excluded or included at trial, with citations to legal authority supporting the

            evidentiary ruling requested. The opposing party's responses in opposition to

            the motions in limine shall correspond with the order and with the numbering

            scheme used by the movant. Any reply from the movant must also correspond

            with the order and numbering used in the movant’s initial motion.

               Prior to filing a motion in limine, the Parties must meet and confer regarding

            each evidentiary issue they intend to raise, and certify that they met and

            conferred in accordance with Local Rule 7.1(a)(3).          The Parties may only

            present those evidentiary issues that remain contested in their respective

            motions in limine.

      V.    Pre-Trial Stipulation, Exhibit Lists, and Witness Lists. The Parties’ joint pre-trial

            stipulation, exhibit lists, and witness lists must be submitted in accordance with

            Local Rule 16.1(d) and (e). The Parties must submit their witness lists in the

            format provided in Attachment A, and their exhibit lists in the format provided

            in Attachment B. The witness lists shall include only those witnesses the

            Parties actually intend to call at trial. In the description for each witness, the

            Party shall include a brief synopsis of the witness’s testimony, the exhibits that

            the Party intends to introduce through the witness, and, in consultation with

            opposing counsel, the estimated time needed for direct and cross examination.

            The total estimated time for witness testimony may not exceed the Parties’

            estimated time for trial, as specified in the pretrial stipulation. The exhibit lists
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             shall identify each witness that will introduce each exhibit. The Parties must

             identify each exhibit with particularity and may not include multiple documents

             or categories of unspecified documents as a single exhibit; composite exhibits

             should be identified by using the main exhibit’s number and an appropriate

             suffix to identify the composite portions of the exhibit.

      VI.    Jury Instructions or Statement of Fact and Conclusions of Law (for Non-Jury

             Trials). Joint proposed jury instructions or statement of fact and conclusions of

             law (for non-jury trials) shall outline: 1) the legal elements of Plaintiff’s claims,

             including damages; and 2) the legal elements of the defenses that are raised.

             The Parties shall submit proposed jury instructions jointly, though they need

             not agree on each and every instruction. If the Parties do not agree on a

             proposed instruction, the language proposed by plaintiff shall be underlined and

             the language proposed by defendant shall be italicized. Every instruction must

             be supported by a citation of authority. The Parties shall use the Eleventh

             Circuit Pattern Jury Instruction for Civil Cases, including the directions to

             counsel.    If a deviation from the Pattern is requested, the parties shall

             specifically provide a citation of authority supporting the deviation. In addition

             to filing their proposed instructions and verdict form on the docket, the Parties

             shall also submit their proposed instructions and verdict form via email in Word

             format to chambers at Williams@flsd.uscourts.gov.

      VII.   Deposition Designations.      For each unavailable witness, the Parties shall

             confer and submit a joint deposition designation.           The party offering the

             testimony shall select a color and highlight the pages and lines which they wish
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              to introduce. The non-introducing party shall then underline in red the portions

              of the designated testimony objected to and in the margins indicate the basis

              for the objection (i.e., irrelevant, hearsay, etc.). The non-introducing party shall

              also select a color and submit to the Court those additional pages and lines

              that they deem counter designated.          In turn, the introducing party shall

              underline in red the portions of the counter-designated testimony objected to

              and indicate in the margins the basis for their objection.

      VIII.   Settlement. If the case settles in whole or in part, counsel must inform the

              Court immediately by emailing chambers at Williams@flsd.uscourts.gov and

              promptly thereafter filing a joint stipulation of dismissal.

           DONE AND ORDERED in chambers in Miami, Florida, this 9th day of August,

   2021.
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                                                ATTACHMENT A

                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                 Case No. XX-XXXXX-CIV-WILLIAMS

   PARTY NAME,

           Plaintiff(s),

   vs.

   PARTY NAME,

        Defendant(s).
   ___________________/

                                          [PARTY’S] WITNESS LIST

 PRESIDING JUDGE:                                           PLAINTIFF’S       DEFENDANT’S
                                                            ATTORNEY          ATTORNEY
 Hon. Kathleen M. Williams

 TRIAL DATE(S):                                             COURT REPORTER    COURTROOM DEPUTY


 PL      DEF   LIVE or BY    DIREC     CROS       ADDRESS       DESCRIPTION OF WITNESS      EXHIBIT(
 F.      .     DEPOSITI         T        S                                                  S)
 NO      NO.      ON          (est.)   (est.)
 .
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                                           ATTACHMENT B

                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                 Case No. XX-XXXXX-CIV-WILLIAMS

    PARTY NAME,

            Plaintiff(s),

    vs.

    PARTY NAME,

         Defendant(s).
    ___________________/
                                       [PARTY’S] EXHIBIT LIST

  PRESIDING JUDGE:                                              PLAINTIFF’S      DEFENDANT’S
                                                                ATTORNEY         ATTORNEY
  Hon. Kathleen M. Williams

  TRIAL DATE(S):                                                COURT            COURTROOM
                                                                REPORTER         DEPUTY


  PLF.    DEF.    DATE        OBJECTIONS   MARKED   ADMITTED    DESCRIPTION OF EXHIBITS   WITNESS
  NO.     NO.    OFFERED
